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          EXHIBIT 22
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   1    Call Date:     2018-09-15

   2    Call Duration:       00:18:00

   3    Call Begin:     13:04:26

   4    Participants

   5          RICK SINGER

   6          JOHN WILSON

   7    Fil.e Name:          9163848802 2018-09-15 13-04-26 08137-001.wav

   8

   9

   10    SINGER:       Good morning!

   11    WILSON:       Hello    Rick.

   12    SINGER:       Hey John.     [background     noise]

   13    WILSON:       How are you doing?

   14    SINGER:       I am good.

   15    WILSON:       Are you at a game?

   16    SINGER:       No, no. I'm just leaving           somewhere.

   17    WILSON:       Ok.   [laughs] Hey, what's         the best way for us to

   18                  put together      a structured      relationship     for the

   19                  girls,    and uh, you know, get some, you know,

   20                  let's    say regular      advice   or at least     some

   21                  periodic    advice    for them as they go through            the

   22                  search   process     and they try and identify            majors

   23                  and schools      and all that?

   24    SINGER:       So we just need to decide           that that's     what you

                                             1




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   1               wanna    do, you wanna go forward?          Then--

   2    WILSON:    Yeah.

   3    SINGER:    I will meet with the kids by uh, Skype or

   4               FaceTime,    um, every       four weeks and, uh, if they

   5               need help In between         they can call me or text me

   6               or whatever,       and that'll    be it.

   7    WILSON:    Okay,    sounds good. And uh what's          the fee for

   8               that? How does that work?

   9    SINGER:    So are we gonna do any um test prep stuff with

   10              them?

   11   WILSON:    Ah potentially       I-I don't    know they've       done a lot

   12              of test prepara--         did you see, you saw their test

   13              scores    right?

   14   SINGER:    Yeah,    [IA]

   15   WILSON:    [OV] They were from like a year ago. They were

   16              when were freshman.          So they're    pretty,    you know

   17              they're    pretty    good scores    already.    I assume

   18              they're    gonna get better       now that they're

   19              juniors.

   20   SINGER:    So that's       a question    for you. So are we gonna

   21              help    'em prepare       for so they get the right-they

   22              get the best       scores and on the subject          tests too?

   23              Or are we just, am I just gonna work with                'em uh

   24              every    four weeks?

                                         2




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   1   WILSON:     lUI] I don't       know I think       the scores    too. How

  2                does that, what's          the difference       in price     of

   3               everything,     is it better         to work something        local

   4               for that?     How does that work         for you guys to do

  5                something     on the test prep?

   6   SINGER:     [OV] So what we do is, we just have somebody,                      one

  7                of my better       people    Skype with them every week,

  8                and they work with on the testing                with them every

  9                week,    and then they have homework             in between,       and

  10               then    I see, I see them every          fourth week.

  11   WILSON:     Okay.    I figure that makes          sense,    I gotta make

  12               sure it's doable          from their    schedule    and all that

  13               stuff.    But uh that probably          makes    sense too,

  14               yeah.

  15   SINGER:     'Kay so, so the difference             is one is $8,000

  16               annually    and one's       $5,000    annually.

  17   WILSON:     Okay    I'll go for the full monty,             yeah.

  18   SINGER:     It's up to you. Whatever             you guys want.

  19   WILSON:     No let, let's try the full monty                and and try to

  20               make    sure, well    I gotta,       you know make       sure it

  21               works    for them but eh, you know we can pay for it

  22               and if it doesn't         work I guess they don't,           you

  23               know just, not do it. I'm just worried                   about

  24               their    overall    schedules    but they make          it

                                         3




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   1               flexible    right?    You guys are not on the west

   2               coast always     or are you guys spread out? Or that

   3               would help     'em do test prep?

   4    SINGER:    Could you say that again John?

   5    WILSON:    In terms of the guys that would help on the test

   6               prep is that something            that is like they're    based

   7               In the east coast or west coast or just in terms

   8               of timeline.

   9    SINGER:    [OV/UIJ They're       based    on both and they make the

   10              time, the um--

   11   WILSON:    [OVJ Okay    [UIJ

   12   SINGER:    They're    doing it with kids allover          the country

   13              and it's been pretty--

   14   WILSON:    [OVJ Okay great.          So you got the logistics      down?

   15   SINGER:    Yeah.

   16   WILSON:    Okay so logistics         work?

   17   SINGER:    Yeah.

   18   WILSON:    Okay,   super.   That's      good to hear. And I'd love to

   19              have a-a game planning            kind of overall    strategy

   20              session    with you up front with them, where            you

   21              just say how do we think about you visiting

   22              schools    and how do we think about that stuff, how

   23              do we think about the extracurricular               you know

   24              the whole    crew or whatever,         et cetera.

                                         4




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   1    SINGER:    Right.    So we can, we can definitely             set that up.

  2                Um, because     they're      both probably     different

   3               because    of their circumstances           right? And they're

   4               probably--are     they-they       are-are    they gonna be

   5               going    to the same schools?         Are they looking           at

   6               separate     schools?

  7     WILSON:    Probably     looking    at separate      schools    but you know

   8               they'll    apply to I imagine         a lot of overlap           too.

   9               You know they'd        love to go to you know some top

   10              schools.     I think    right now they're         leaning    a

   11              little    bit more     towards,    you know, science         and

   12              engineering     which      is great    I think that'd       be, you

   13              know, great     for gals who are good in science                  and

   14              engineering     and math.

   15   SINGER:    And do you, and I mean do we have like some

   16              schools    in mind     that they're      thinking    about?

   17   WILSON:    Ah they mentioned,          I keep pushing        'em they don't

   18              really    know, maybe       [PH] undecided,       I think

   19              Courtney's     looking      at, you know, the top schools

   20              whether    it's Ivy or whether          that's,    you know,

   21              they're    kind of, you know the Cornells             or the

   22              Prince tons for engineering            and that kind of

   23              stuff.    If she could,       she'd love to get into those

   24              tops schools     then there's         the second     lUI]

                                          5




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   1    SINGER:    [OV/UIJ    'Kay that's--yes.

   2    WILSON:    [UIJ secondary       schools.

   3    SINGER:    Yes. Yeah to get in the engineering              in those

   4               schools    she's gotta have perfect          grades,   perfect

   5               scores.

   6    WILSON:    You need to have perfect          grades    you think?   Yeah?

   7    SINGER:    And perfect    scores.       On the subject    tests and SATs

   8               I mean you gotta be, be in engineering              you gotta

   9               be 1550 plus and you gotta be 800 In the math on

   10              the subject    test and at least 780 on the um,

   11              science    subject    test as well.     So, that's     if you

   12              wanna    apply in those,       in those majors.

   13   WILSON:    Okay. Uh and if you wanna be applying              in uh other

   14              majors    like science       or something    like that or

   15              math    or--

   16   SINGER:    [OVJ Science       is, science    is the same thing.

   17   WILSON:    [OVJ Economics?

   18   SINGER:    [OV] They're       all, they're    all the same. Unless

   19              you're    applying    to--

   20   WILSON:    [OV/UIJ

   21   SINGER:    Unless    you're    applying    to humanities.

   22   WILSON:    Okay what if you wanna go into like business                or

   23              is that considered        humanities?

   24   SINGER:    Um n-- it's less than.          I mean you know that the

                                         6




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  1               Ivies essentially           post you know Princeton,         Yale,

  2               Harvard,       none of them have undergraduate             business

  3               programs,       they're     all Econ.

  4    WILSON:    Economics       yeah. Economics       or some schools       have

  5               business       but not the Ivies right?

  6    SINGER:    Only    Penn does.

  7    WILSON:    In the Ivies,        right?

  8    SINGER:    Yes     [UIJ

  9    WILSON:    [OV/IAJ But they wanna           yeah they wanna         get second

  10              tier schools        as well     [IAJ Boston   Colleges,      the

  11              Georgetowns       and that's     all second      tier.

  12   SINGER:    They-they-they        they-they      all have,    they have pr-

  13              they have business.           BC, Georgetown,      urn, you know

  14              Northwestern        is--does    not, Duke does not, urn

  15              Emory    does.    So it just depends       on where       they

  16              wanna    go to school.

  17   WILSON:    Yeah and they like we-, either             east coast or west

  18              coast     I think is what they're         looking    at. So west

  19              coast they'd        love to be everything         from USC to

  20              UCLA to Stanford,           you know kind of stuff.         Um--

  21   SINGER:     [OVJ So--

  22   WILSON:    And those       are always     the top notch      too, right?

  23   SINGER:    Right.     Right.    So, you know, that to me, you know

  24              And,    and we'll     try     [IAJ

                                         7




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   1    WILSON:        [OV] So they only have a 32 whatever                 in the ACT

   2                  or whatever      the hell thing          is called,    but that

   3                  was as a freshman            that's not bad I guess but, you

   4                  know it's not a 35 or 6.

   5    SINGER:       Right. And that's what it's gonna take to even

   6                  play in the game on their,               on their own. Right?

   7                  If you--

   8    WILSON:        [OV] Right.

   9    SINGER:       --said,     and you know this, that if you said you

   10                 wanted    to go somewhere            like Stanford    or Harvard

   11                 or Yale, and go through               a different    door you can

   12                 do that. But to go In directly                you gotta be, just

   13                 to play,     you gotta be 35, 36 plus essentially

   14                 perfect     grades     and then you gotta have subject

   15                 test scores      in the mid 700's.

   16   WILSON:       Right.    Okay well that's            good uh good general    uh

   17                 direction      and then on the urn, on the other doors

   18                 you have certain            things    like crew can they try

   19                 that?    Is that still your, your number               one, your
              differentiator? If they had                   they could
   20                  lUI] a really        good time,       I can work on that and

   21                 get a time of X, that might be a second door, or

   22                 you have the other door where,                you know you can,

   23                 you know, make a contribution                kinda thing.

   24   SINGER:       Yeah so we we're--that's              why I'm goin' to Harvard


                                              8




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   1               next Friday,        because   the president     wants    to do a

   2               deal with me because          he found out that I've

   3               already     got four already       in, without    his help,       so

   4               he's like, how        'bout--why    would    you go to

   5               somebody     else if you could come to me?          I said

   6               well     I didn't    know I could come to you.          [laughs].

   7    WILSON:    That's     funny yeah.     I knew Drew,      Drew used to be

   8               on our board,        but ah she's gone now.       I don't       know

   9               this new guy. But ah ...

   10   SINGER:     [OV] Yeah.

   11   WILSON:    So what     kinda deals       is it there?    Is it like you

   12              know,     lUI] water polo and uh donation          or what       is

   13              it like, you know if you get into that ...

   14   SINGER:    So where     wou--    so pick a place       you wanna    go.

   15   WILSON:    So you said uh HB, uh Harvard           not business

   16              school,     but if you did a Harvard          or Princeton       or

   17              Georgetown,     you know what are those things?

   18   SINGER:    So Harvard,     Harvard       is ah, it's usually       about

   19              $1. 2.

   20   WILSON:    Jesus.

   21   SINGER:    Stanford     is $1.2. Urn, but you know the back door

   22              is, Harvard's        asking    for $45 million.

   23   WILSON:     [Laughter]    Good God.

   24   SINGER:    Stanford's     asking      for $50 million.

                                          9




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    1    WILSON:    Wow.

    2    SINGER:    And they're    gettin'      it. That's   the crazy thing.

    3               They're    gettin'    it. From the Bay Area and from

    4               New York. Crazy.

    5    WILSON:    Wow.

    6    SINGER:    Crazy,    absolutely      crazy.   So but--

    7    WILSON:    [OV] Jeez what about,         what about like Georgetown

    8               or those other ones or--

    9    SINGER:    Yeah so Georgetown's          like 500, BC's same thing.

    10              Urn, so you know those are your k- kind of your

    11              numbers    across    the board     at different    places    you

    12              know, USC hasn't       changed,     urn UCLA can be done,

    13              for about three, urn, you know public             schools    are

    14              really hard in California,           because   everybody's

    15              watchin'    'em.

    16   WILSON:    M-hum.

    17   SINGER:    But, and that's--

    18   WILSON:    [OV] Well yeah with the sports angle and you know

    19              three in, UCLA or something           yeah.

    20   SINGER:    [OV] Yeah. Yeah. Yes. Yes. So I'm doin'-and

    21              we're doin'    John, this is how crazy it's gotten.

    22              We're doing,       I'm gonna do over 730 of these           side

    23              doors this year.

    24   WILSON:    Wow. How many       schools   are you doing those at now?

                                         10




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   1               Is that just like the top 20 or 50? Or is it more

   2               than that?

   3    SINGER:    Uh it's you know 50 to 60 different               schools.

   4    WILSON:    So 50 or 60 okay.

   5    SINGER:    [OV] Yes.

   6    WILSON:    And in terms of engineering            schools,    and what

   7               are the best ones these days? MIT do they have a

   8               side door?

   9    SINGER:    No. But MIT is not even a fun place               to go to

   10              school    John it's--

   11   WILSON:    [OV] Yeah,    I know I looked         at it and I didn't,       I

   12              didn't   but--

   13   SINGER:    [OV] Nobody      likes it.

   14   WILSON:    RPI sucked    too.    [Laughs].

   15   SINGER:    lUI]

   16   WILSON:    All the engineering         schools    kind of suck.

   17   SINGER:    But-but-but      you see--

   18   WILSON:    [OV] The pure engineering.

   19   SINGER:    But if you, like, the great           thing about going

   20              to Harvard,      or going    to Stanford    or places    like

   21              that,    if I, you know, if I could get you in, you

   22              can do whatever      you want when you get there.

   23   WILSON:    Yeah.

   24   SINGER:    'Cause they don't         care. Right?    Um--

                                        11




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    1    WILSON:     [OVl Yeah.

   2     SINGER:    Urn, if you're      g-, if you're       gonna go to a, you

    3               know a t- a traditional          engineering    school,      you

    4               know then you're,          you, you wanna go to, you

    5               know, Berkeley       and UCLA are almost       impossible      to

    6               get into, um--

    7    WILSON:     'Cause the Asian      factor?    'Cause the scores have

    8               been so high?

    9    SINGER:    No, the-the    Dean yeah the Deans-essentially

    10              I'll give you an example.          The Dean at Berkeley

    11              came in to meet with all the coaches              and the

    12              AD's and told him--them,          we don't     care who you

    13              recruit,    we don't       care how strong they are, they

    14              cannot be engineers.          Because    the, they're   gonna

    15              miss too much practice,          and too many     labs. So

    16              don't recruit       'em for that. The nice thing about

    17              USC for example       in engineering,       you get to cut

    18              out half of your general          ed. So you get into

    19              engineering    on day one. They already           start you

    20              there.    So you're    not playing--

    21   WILSON:     [OVl That's   interesting.

    22   SINGER:    Yeah all the humanities          games and all the other

    23              stuff. Now, the best engineering             school   they

    24              could go to? If you really wanted              to do that

                                          12




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   1               truthfully?     They're        ranked    number    one in the

   2               country     computer        science    and number       three

   3               engineering?     Is Georgia           Tech.

   4    WILSON:    Yeah that's     kinda,        I'm not sure they wan-

   5                [laughsJ,    [UIJ that I just think              too a too

   6               redneck     and ...

   7    SINGER:    Well Atlanta's        not redneck.

   8    WILSON:    I know,     I know    [UIJ [LaughterJ.

   9    SINGER:    Atlanta's     very, very hip. But anyways                 but

   10              that's--you     asked        for the best       schools,    they are

   11              the best.

   12   WILSON:    But what are the top-top               five or ten you would

   13              say engineering        or science        schools,       you know,

   14              the Georgia     Techs,        the MITs,       the Cal Techs,      the

   15              uhh     [OVJ Cornell?

   16   SINGER:     [OVJ Yeah but nobody           goes to Cal Tech University

   17              that's    a regular     kid. Cornell's           not.    [IAJ

   18   WILSON:    Princeton?

   19   SINGER:    Stanford.

   20   WILSON:    Stanford.

   21   SINGER:    Stanford,     Harvard,       urn, if you're       gonna do comp

   22              sci then Brown        is, urn, if you're          going    to do-

   23              and then obviously           Georgia     Tech is in there,          urn,

   24              then you have the UCs, urn, Carnegie                    Mellon,   Case

                                          13




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    1               Western,    Northwestern,        Penn - those are all your

    2               top schools.     Yale's becoming--

    3    WILSON:     [OV] Nothing    Dartmouth?

    4    SINGER:    Dartmouth's     okay they don't have a tr-,

    5               Dartmouth    doesn't        have a true engineering

    6               program.

    7    WILSON:    Yeah. Cornell?

    8    SINGER:     [OV] Yep. You get          [UI]. Cornell    has one but

    9               it's really     a grind.       Um, and then you got like

    10              Yale's    becoming     a math/science       school.

    11   WILSON:    Yale's way too liberal           I think.    [IA] my friends

    12              going there-there-there's           a lUI] with her kids

    13              who'd probably        get    'em out.

    14   SINGER:     [Laughs]

    15   WILSON:    It's becoming       this like liberal        like, you know,

    16              hot box.

    17   SINGER:    Yeah but you-your           kid doesn't   have to make that

    18              decision.     To do that. Your kid's gonna be who

    19              they are.

    20   WILSON:    Yeah I know I know but the parents              don't want to

    21              even support        the school    anymore    it's funny.

    22              Three generations           the kind of Yale families          lUI]

    23              this place     sucks. Anyway       I wouldn't    want    'em

    24              going to Yale. But anyway           in terms of um, uh, if


                                          14




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   1               they wanted       to go more Economics        as well then

   2               it's gonna be the, well the top Ivy, some of the

   3               UCs.

   4    SINGER:    Yes. Yes Duke, Northwestern

   5    WILSON:     [OV] Georgetown.

   6    SINGER:    Georgetown        [IA]

   7    WILSON:     [OV] If they wanna           stay east coast,   yeah east

   8               coast' or west coast.

   9    SINGER:    Yep. So, USC, UCLA, Berkeley,              the Claremont

   10              Colleges.

   11   WILSON:    Stanford     of course.

   12   SINGER:     [Sneezes]

   l3   WILSON:    Bless    you.

   14   SINGER:    Sorry?

   15   WILSON:    Stanford     of course would be.

   16   SINGER:    Of course.      They're,       they're   the number   one

   17              school    in America.

   18   WILSON:    Yep.

   19   SINGER:    They got everything.

   20   WILSON:    Yeah.

   21   SINGER:    They got the weather,            they got sports,     they got

   22              a grade    inflation,         they offer every major.       I

   23              mean    they're    the--

   24   WILSON:      [OV] Yeah.

                                            15




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    1    SINGER:    --that's--     if anybody     could go there,       that's

    2               the place.

    3    WILSON:    That's    the cat's meow yeah. You're          saying     that's

    4               a minimum     of a 1.2 on the side door?

    5    SINGER:    Yep.

    6    WILSON:    What sports would be best for them? Is crew the
                                  you know
    7               the bes-,     even, you're       talking   about the Ivies

    8               and stuff like that, or is that not gonna even

    9               matter?

    10   SINGER:    They--oh    for me? It doesn't'        matter.     I, I'll

    11              make them a sailor or something.             Because    of

    12              where    you live.
                                                                     we'll want to
    13   WILSON:     [LaughsJ. That's probably          more than I wanna go

    14               for. Is there a two for one special?              If you got

    15              twins?

    16   SINGER:     [LaughsJ Unfortunately,          I know you pro- you

    17              probably    have been asking        that your whole       life.

    18               [LaughterJ    I know you John you've been asking

    19               for--

    20   WILSON:     [UIJ

    21   SINGER:     Every time you go out for dinner            is there a two

    22               for one sale.

    23   WILSON:     Exactly,    there's     no piggy backing     like that at

    24               all I assume?

                                           16




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   1    SINGER:    No I'm sorry about that, they're              independent

   2               people.

   3    WILSON:    Yep, and so In terms         of things      that are more        in

   4               the half or three hundred,           what    is that set of

   5               schools?

   6    SINGER:    So that's     ah Georgetown,     Boston      College,       Georgia

   7               Tech,    USC, U- ah, UCLA,      Berkeley,      you know.

   8    WILSON:    So UCLA is in that range too huh? Okay,                    that's

   9               not bad.

   10   SINGER:    Yep, yeah.

   11   WILSON:    And the northeast         is just Georgetown,         BC.

   12   SINGER:    Georgetown,     BC, Duke's more       expensive.          Duke has

   13              become    the hottest      school,   um.

   14   WILSON:    Duke? Wow.

   15   SINGER:    Yeah,    it's the hottest      school      there    is.

   16   WILSON:    So if they wanna         try to help get anything,             you

   17              know, back doors at like Harvard,              being      an

   18              Alumni    doesn't   really    help much.      Is it gonna be

   19              better    from Lynnfield      than from ah, Andover             just

   20               'cause of how many        kids are already         legacy,     I'm

   21              not really     legacy     from the undergrad         I'm legacy

   22              from the grad school.

   23   SINGER:    And, and a lot of undergrad,            but you know what

   24              at the end of the day, it's easier                 if--you     know,

                                       17




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    1               the easiest    way as you know, is being             a student

    2               athlete    because    you can, you can ov-, you

    3               overlap    and overplay        the urn, the ah legacy.

    4    WILSON:    Yeah so--

    5    SINGER:     'Cause the-the      athlete     gets first priority.

    6    WILSON:    The athlete    gets first priority           and then the

    7               legacy will help, and then ah--

    8    SINGER:    Yep.

    9    WILSON:    Some additional       side door money,        or do you have

    10              to do all three?

    11   SINGER:    Urn.

    12   WILSON:    Or you can try with just the first two?

    13   SINGER:    Well ya-, if you just try the athlete                side, and

    14              you were using the side door with the athlete

    15              it's a done deal. Just like with John.

    16   WILSON:    Right but your saying           athletes    side, even as an

    17              alumni    is essentially        1.2?

    18   SINGER:    Absolutely.    We got--

    19   WILSON:    But if your--

    20   SINGER:    Guy's giving    up his spot, he's,           they're   not a

    21              good enough    athlete,        to compete    with.

    22   WILSON:    What would    have to be in terms of crew I guess,

    23              everything    being        a good enough    athlete.

    24   SINGER:    They have to be one of, they have to be one of

                                          18




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   1               the best      in the country.       They have to be row--

   2    WILSON:     [OV] So you have to be top times.

   3    SINGER:    They gotta         have to have top times and be rowing

   4               at The Head of the Charles,              which   is coming     up,

   5               and they gotta go to Nationals,               and they gotta

   6               compete.

   7    WILSON:    Yep, so you gotta be top, tops in the nation.

   8    SINGER:    You gotta,         yeah, they can get whoever         they

   9               want.

   10   WILSON:    And they only get so many               slots you get to fill.

   11   SINGER:    That's      the problem,       that's   the problem.

   12   WILSON:    Yeah.      Yeah,    that is a big issue.         [Laughter]    Oh

   13              my God, and is that ah, are those numbers,                    are

   14              there      anyway    to make    those   like tax deductible ?
                   Are they
   15              as like donations           to the school     and stuff? How

   16              does that work?

   17   SINGER:    They're      all tax, it's all tax deductible,               it's

   18              going      into a non-profit,       501.3.c.,     it's all,

   19              it's all tax deductible,            everyone,     every piece

   20              of it.

   21   WILSON:    Okay.

   22   SINGER:    All of it.

   23   WILSON:    Still big numbers.          Wow.

   24   SINGER:    It's tax.

                                          19




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    1   WILSON:     But there's    so many people      that want to do

    2               that, it's just all.

    3   SINGER:     And they, and they can do it because            they think-

    4               you know so the guys from Goldman            called me

    5               yesterday,    he got four families,         they're   seniors

    6               right now,    its Lakeville      [PH] lUI    from 13:22:13

    7               to 13:22:18,    lots of static]      because    that's   like

    8               compared    to what they're      being   quoted by the

    9               development    office    they're   like--

                            [Call ends abruptly]

                               End of Audio   File




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